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UNITED STATES DISTRICT COURT SLED
EASTERN DISTRICT OF KENTUCKY
SOUTHERN DIVISION DEC 21 2073
LONDON ATLONDON
Robert R. Carr
CLERKUS, DISTRICT COURT
UNITED STATES OF AMERICA
V. INDICTMENT NO. 6: 23- CR: 25-CHB

SARA B. PARMAN
* ke *& *& *
THE GRAND JURY CHARGES:

COUNT 1
21 U.S.C. § 846

Beginning on or about January 1, 2020, the exact date unknown, and continuing

through on or about December 21, 2023, in Laurel County and Clay County, in the Eastern

District of Kentucky, and elsewhere,

SARA B. PARMAN

did conspire with others to knowingly and intentionally dispense and distribute a quantity

of pills containing amphetamine/dextroamphetamine, a Schedule II controlled substance,

and a quantity of pills containing alprazolam, a Schedule IV controlled substance, pursuant

to prescriptions that were not issued for a legitimate medical purpose by a practitioner

acting in the usual course of professional practice, in violation of 21 U.S.C. § 841(a)(1), all

in violation of 21 U.S.C. § 846.
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COUNT 2
21 U.S.C. § 841(a)(1)

On or about May 5, 2021, in Clay County, in the Eastern District of Kentucky,
SARA B. PARMAN
did knowingly and intentionally dispense and distribute a quantity of pills containing
alprazolam pursuant to a prescription that was not issued for a legitimate medical purpose
by a practitioner acting in the usual course of professional practice, all in violation of 21
U.S.C. § 841(a)(1).

A TRUE BILL

CARLTON S. SHIER IV
UNITED STATES ATTORNEY

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PENALTIES

COUNT 1: (SCHEDULE IIT CONTROLLED SUBSTANCE): Not more than 20 years
imprisonment, not more than a $1,000,000 fine, and at least 3 years supervised release.

COUNT 2: Not more than 5 years imprisonment, not more than a $250,000 fine, and at
least 2 years supervised release.

PLUS: Mandatory special assessment of $100 per count.

PLUS: Restitution, if applicable.
